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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )
                                    )
VS.                                 )                CR. NO. 1:17-10003-5-STA
                                    )
RONRICUS CHAPMAN,                  )
                                    )
            Defendant.              )
__________________________________________________________________________________

                           ORDER ON CHANGE OF PLEA
_________________________________________________________________________________



       This cause came to be heard on August 14 , 2017, Assistant United States Attorney, Matt Wilson,
appearing for the Government and the defendant, Ronricus Chapman, appearing in person, and with
counsel, Jennifer Free.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 1 of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for MONDAY, NOVEMBER 27, 2017 at 9:30 A.M., before
Chief S. Thomas Anderson.

       Defendant is remanded to the custody of the United States Marshals.

       ENTERED this the 14th day of August, 2016.


                                                   s/ S. Thomas Anderson
                                                   CHIEF JUDGE, U. S. DISTRICT COURT
